                                       Case
     Fill in this information to identify      20-15748
                                          your case:              Doc 1            Filed 05/27/20       Page 1 of 7
     United States Bankruptcy Court for the:

     Southern District of Florida
     ____________________  District of _________________
                                       (State)
     Case number (If known): _________________________ Chapter you are filing under:
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                                                                 Chapter 11
                                                                 Chapter 12
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                                        Case 20-15748           Doc 1        Filed 05/27/20                 Page 2 of 7

                Regalia Beach Developers LLC
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              Regalia Beach Developers LLC
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               Regalia Beach Developers LLC
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                  Case 20-15748       Doc 1    Filed 05/27/20    Page 5 of 7




                               United States Bankruptcy Court
                               Southern District of Florida




         Regalia Beach Developers LLC
In re:                                                             Case No.

                                                                   Chapter     11
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify               attached
                                               rify that the atta hed list of cr
                                                              ttac            creditors
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true and correct to the best of their knowledge..




Date:         05/27/2020
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